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                 EXHIBIT D
                        Caseat3:24-cv-00224-LS
El Paso County - County Court  Law 3                 Document 1-4 Filed 07/01/24 Page 2  of 66/30/2024 9:11 PM
                                                                                      Filed
                                                                                                         Norma Favela Barceleau
                                                                                                                    District Clerk
                                                                                                                 El Paso County
                                                                                                                 2024DCV2562
                                               CAUSE NO. 2024-DCV-2562

             LETICIA WHITE,                                  §                  COUNTY COURT AT LAW 3
                                                             §
                     Plaintiff,                              §
                                                             §
             v.                                              §                    EL PASO COUNTY, TEXAS
                                                             §
             FOLLETT HIGHER                                  §
             EDUCATION GROUP, LLC                            §
                                                             §
                     Defendant.                              §                     JURY TRIAL DEMANDED

                                        ORIGINAL ANSWER AND DEFENSES

                    COMES NOW Defendant Follett Higher Education Group, LLC (“Defendant” or

            “Follett”) and files this Answer to Plaintiff Leticia White’s (“Plaintiff”) Original Petition

            (“Petition”). Follett respectfully responds as follows:

                                               I.      GENERAL DENIAL

                    As permitted under Rule 92 of the Texas Rules of Civil Procedure, Follett enters a general

            denial of the matters pled by Plaintiff in her Petition and asks the Court to require Plaintiff to prove

            her allegations by a preponderance of the evidence, as required by the Constitution and the laws

            of the State of Texas.

                           II.       DEFENSES, INCLUDING AFFIRMATIVE DEFENSES

                    Without assuming any burden of proof that would otherwise rest with Plaintiff, Follett

            states the following defenses:

                    1.      Plaintiff’s Petition fails, in whole or in part, to state a claim upon which relief can

            be granted.

                    2.      Plaintiff’s claims are barred, in whole or in part, by the failure to exhaust

            administrative prerequisites to filing suit.
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         3.      Neither Plaintiff’s age nor her gender was a motivating factor in any decision made

by Defendant with respect to or regarding Plaintiff,

         4.      Plaintiff’s claims are barred, in whole or in part, to the extent that they exceed the

scope of and/or are inconsistent with the Charge of Discrimination Plaintiff submitted to the Equal

Employment Opportunity Commission.

         5.      At all times, any actions taken by Follett were lawful, justified, and made in good

faith.

         6.      Plaintiff’s claims are not actionable because the challenged employment

decision(s) are justified by legitimate, non-discriminatory, non-retaliatory, and non-pretextual

business reasons unrelated to age or gender.

         7.      If any improper, illegal, or discriminatory act was taken by any Follett employee

against Plaintiff, it was outside the course and scope of that employee’s employment, contrary to

Follett’s policies, and was not ratified, confirmed, or approved by Follett. Thus, any such actions

cannot be attributed or imputed to Follett.

         8.      Plaintiff unreasonably failed to take advantage of preventive or corrective

opportunities provided by Follett or to avoid harm otherwise. Additionally, Follett took prompt

and effective remedial action to address any complaints made by Plaintiff. Follett exercised

reasonable care to prevent and correct promptly any alleged discriminatory behavior directed

towards Plaintiff. No tangible employment action regarding Plaintiff resulted from any alleged

unlawful conduct by Defendant.

         9.      Plaintiff is barred from recovering damages to the extent that she has failed to

mitigate her damages, including the failure of Plaintiff to accept work or to exercise diligence in

seeking employment.



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        10.     To the extent Plaintiff has mitigated her damages, Follett is entitled to offset those

amounts Plaintiff has earned.

        11.     The allegations within Plaintiff’s Petition are insufficient to entitle her to punitive

damages.

        12.     Any imposition of punitive damages in this case would contravene Follett’s

constitutional right to substantive and procedural due process of law under the Fifth Amendment

of the Constitution of the United States.

        13.     Plaintiff’s claims for punitive damages fail because Follett did not act with malice

or reckless indifference to Plaintiff’s state or federally protected rights.

        14.     Follett cannot be vicariously liable for punitive damages in light of its good faith

efforts to comply with the anti-discrimination statutes at issue in this case. See Kolstad v. American

Dental Ass’n, 527 U.S. 526 (1999).

        15.     Any award of compensatory and/or punitive damages to Plaintiff is limited and/or

capped by the applicable statute(s).

        16.     Plaintiff’s Petition sets forth claims that are frivolous, unreasonable, vexatious, or

without foundation, thus entitling Follett to recover its attorneys’ fees associated with defending

against such claims.

        17.     Follett expressly reserves the right to amend this Answer to assert additional

defenses, claims, counterclaims, cross-claims, and/or causes of action that may become

appropriate upon investigation or other discovery that may occur during the course of the litigation.




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                                         III.    PRAYER

       WHEREFORE, Follett Higher Education Group, LLC requests that upon final hearing,

judgment be entered that Plaintiff take nothing from Follett and that Follett be discharged with its

costs and attorney’s fees.

                                                Respectfully submitted,

                                                 /s/ Michael D. Mitchell
                                                Michael D. Mitchell
                                                Texas Bar No. 00784615
                                                OGLETREE, DEAKINS, NASH,
                                                  SMOAK & STEWART, P.C.
                                                michael.mitchell@ogletreedeakins.com
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                                                ATTORNEY FOR FOLLETT HIGHER
                                                EDUCATION GROUP, LLC




                                 CERTIFICATE OF SERVICE
       I hereby certify that on this 30th day of June, 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
following:

       John A. Wenke
       501 E. California Avenue
       El Paso, Texas 79902
       lawoffice@johnwenke.com

       ATTORNEY FOR PLAINTIFF

                                                  /s/Michael D. Mitchell
                                                 Michael D. Mitchell




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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.




Envelope ID: 89346921
Filing Code Description: ANSWER/RESPONSE
Filing Description: Original Answer and Defenses
Status as of 7/1/2024 9:19 AM MST

Associated Case Party: Leticia White

Name                    BarNumber   Email                     TimestampSubmitted Status

John A.Wenke                        john@johnwenke.com        6/30/2024 9:11:10 PM   SENT

Legal Assistant                     lawoffice@johnwenke.com   6/30/2024 9:11:10 PM   SENT

Secretary John Wenke                secretary@johnwenke.com 6/30/2024 9:11:10 PM     SENT



Associated Case Party: Follett Higher Education Group, LLC

Name                      BarNumber   Email                                 TimestampSubmitted Status

Samantha De Hoyos                     samantha.dehoyos@ogletree.com         6/30/2024 9:11:10 PM   SENT

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